
PER CURIAM.
In the instant case appellant alleges that he was sentenced to five years imprisonment to be followed by five years probation. Because this is illegal under Villery v. Florida Parole and Probation Commission, 396 So.2d 1107 (Fla.1981), and because Villery is deemed to be retroactive, we affirm appellant’s conviction but remand to the lower court so that it may correct appellant’s sentence. In correcting his sentence, the trial court may sentence appellant to be incarcerated for up to ten years with credit for time served. See Lewis v. State, 402 So.2d 482 (Fla.2d DCA 1981).
GRIMES, A.C.J., and OTT and DAN-AHY, JJ., concur.
